
700 S.E.2d 922 (2010)
JONES
v.
KELLER.
No. 518PA09.
Supreme Court of North Carolina.
August 26, 2010.
Tiare B. Smiley, Special Deputy Attorney General, for Alvin W. Keller, et al.
Glenn A. Barfield, Goldsboro, Sarah Jessica Farber, Katherine Jane Allen, Assistant Appellate Defender, for Alford Jones.
David C. Pishko, Winston-Salem, Margaret S. Abrams, Raleigh, for N.C. Advocates for Justice.
The following order has been entered on the motion filed on the 18th of February 2010 by Petitioner to Correct Mis-Citation of Authority During Oral Argument:
"Motion Allowed by order of the Court in conference this the 26th of August 2010."
